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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

         KIM ALAN NORLIEN,

                 Plaintiff,                                 Case No.: 1:23-cv-14175

         v.                                                 Judge John J. Tharp, Jr.

         THE PARTNERSHIPS AND                               Magistrate Judge Heather K. McShain
         UNINCORPORATED ASSOCIATIONS
         IDENTIFIED ON SCHEDULE “A”,

                 Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                    DEFENDANT
              100                                   Craftwork Factory


DATED: February 7, 2024                             Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:23-cv-14175 Document #: 42 Filed: 02/07/24 Page 2 of 2 PageID #:1030


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on February 7, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
